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           Case 2:21-cr-00464-MWF Document 1 Filed 09/16/21 Page 1 of 8 Page IDCLERK,    DISTRICT COURT


AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original            9/16/2021

                                                                                                           CENTRAL DISTRICT OF CALIFORNIA

                              UNITED STATES DISTRICT COURT                                                   BYl{J.u...::.J/,_u.,J,,Je..,DEPUTY



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                                                         for the                                   CLERK, U.S. DISTRICT COURT




                                            Central District of California                         9/16/2021
                                                                                                CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                 BY: ____________BB______ DEPUTY
 United States of America

                 v.
                                                                   Case No.    2:21-mj-04298 -DUTY
 DANIEL WAYNE HOLLINGSWORTH,

                 Defendant(s)


                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of September 14, 2021, in the county of Los Angeles in the Central District of

California, the defendant(s) violated:

           Code Section                                            Offense Description

           18 U.S.C. § 111(a)(1), (b)                              Forcibly Assaulting, Resisting,
                                                                   Opposing, or Impeding a Federal
                                                                   Officer

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                    /s/ Albert Kei
                                                                                Complainant’s signature

                                                                              Albert Kei, Special Agent
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                 9/16/21
                                                                                     Judge’s signature

 City and state: Los Angeles, California                             Hon. Charles F. Eick, U.S. Magistrate Judge
                                                                                 Printed name and title

AUSA: Maria Elena Stiteler (x6148)
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                               AFFIDAVIT

     I, Albert Kei, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint against, and arrest warrant for, DANIEL WAYNE

HOLLINGSWORTH (“HOLLINGSWORTH”) for forcibly assaulting,

resisting, opposing, or impeding two United States Secret

Service (“USSS”) Special Agents while engaged in the performance

of official duties, involving physical contact and bodily

injury, in violation of Title 18, United States Code, Sections

111(a)(1), (b).

     2.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses, including USSS agents.       This affidavit is intended to

show merely that there is sufficient probable cause for the

criminal complaint and requested arrest warrant and does not

purport to set forth all of my knowledge of or investigation

into this matter or the entirety of the law enforcement’s

investigation into this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

                      II. BACKGROUND OF AFFIANT

     3.    I am a Special Agent (“SA”) with the USSS, assigned to

the Los Angeles Field Office, in the Recruitment and Special

Investigations Squad.    I formerly was a member of the Los

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Angeles Field Office, Asset Forfeiture Squad.        I have been

employed by USSS since August 2010.       My duties include the

investigation of violations of federal criminal law,

particularly those laws found in Title 18 of the United States

Code and relating to threats made to Secret Service protectees

and employees and assaults on Secret Service employees.

     4.   Prior to my employment with USSS, I was a police

officer for the City of Los Angeles.       As a police officer, I was

assigned as a patrol officer, investigating crime and making

numerous arrests for various violations of the California State

Penal Code, Vehicle Code, and Health and Safety Code.          As an

employee with the USSS, my training has included: the USSS

Special Agent Training Course in Beltsville, Maryland, and the

Federal Law Enforcement Training Center Criminal Investigator

Training Program in Brunswick, Georgia.       As a result of my

training and experience, I am familiar with federal laws

concerning threats and assaults on federal employees, among

others.

                   III. SUMMARY OF PROBABLE CAUSE

     5.   On the afternoon of September 14, 2021, two Special

Agents of the USSS, Special Agent K.H., and Special Agent B.V.,

went to HOLLINGSWORTH’s residence in Inglewood, California to

interview him in connection with a threatening message sent to

USSS through a publicly-accessible USSS website several days

prior.

     6.   Toward the end of the interview, HOLLINGSWORTH became

agitated and raised his voice, demanding that the Special Agents

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leave his house.    As the Special Agents began to leave,

HOLLINGSWORTH’s behavior escalated and he assaulted Special

Agent K.H., including placing K.H. in a chokehold.         Special

Agent B.V. ordered HOLLINGSWORTH to release K.H., and attempted

to free K.H.’s neck, but HOLLINGSWORTH continued to resist.

Special Agent B.V. struck HOLLINGSWORTH’s face, which caused

HOLLINGSWORTH’s grip to loosen, allowing the Special Agents to

gain control and handcuff him.

     7.      While Special Agent B.V. called for police assistance,

HOLLINGSWORTH became aggressive again and lunged at Special

Agent K.H.    HOLLINGSWORTH then began biting K.H.’s forearm.

Special Agent B.V. ordered HOLLINGSWORTH to stop and when he

refused to comply, B.V. struck HOLLINGSWORTH’s face, to regain

control.   The Special Agents held HOLLINGSWORTH restrained on

the ground as he continued to be combative, until Inglewood

Police Department officers arrived and took him into custody.

                    IV. STATEMENT OF PROBABLE CAUSE

     8.      Based on my review of law enforcement reports and
conversations with other law enforcement officers, including

victims K.H. and B.V., I learned the following:

     9.      On the morning of September 14, 2021, USSS Special

Agents K.H. and B.V. spoke with HOLLINGSWORTH on the phone and

he provided them with his current home address in Inglewood,

California, and agreed that they could come to speak with him.

     10.     That afternoon, Special Agents K.H. and B.V. drove to

HOLLINGSWORTH’s house to interview HOLLINGSWORTH in connection

with the following threatening message sent to USSS through a

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publicly-accessible USSS website four days prior, on September

10, 2021:    “Go on thinking I am not a pissed of man with a 150

IQ. Thats about     o mureder [sic] an entire building of secret

service agents.”1

     11.     When the Special Agents first arrived at the house,

HOLLINGSWORTH was not home.     At approximately 1:05 p.m.,

HOLLINGSWORTH arrived and invited them inside.         The Special

Agents interviewed HOLLINGSWORTH for about 30 minutes, during

which HOLLINGSWORTH remained cooperative and compliant.          During

the interview, HOLLINGSWORTH claimed that a government entity

was responsible for stealing $2.5 million owed to him, and that

the USSS was involved in kidnapping him along with others five

or six years ago.     While the interview began in the kitchen, the

Special Agents and HOLLINGSWORTH moved into his office, so that

he could look something up on his computer.

     12.     At the end of the interview, Special Agent K.H.

informed HOLLINGSWORTH that the USSS did not deal with crimes

involving theft of money or kidnapping, and that those are local

police matters.     At that point, HOLLINGSWORTH became agitated

and raised his voice, demanding that the Special Agents leave

his house.

     1  USSS agents had previously interviewed HOLLINGSWORTH on
October 26, 2016, in connection with a threatening Facebook
post, posted by HOLLINGSWORTH on October 19, 2016. In that
post, HOLLINGSWORTH wrote, among other things: “The FBI, The
Secret Service, and the entire American military are willing to
stand up and shoot Hillary in the face for the lives she has
cost them. I got over 4000 rounds of 45 ammo that will be
emptied into the hearts of anyone standing up for her. The bitch
will die, and America will be 'BY THE PEOPLE FOR THE PEOPLE'
regardless of the bull shit you are standing up for. And if you
get in the fucking way then you will die with the rest.”
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     13.   As the Special Agents began to leave, HOLLINGSWORTH

became aggressive.    HOLLINGSWORTH--who is 6’7” and 300 pounds--

assaulted Special Agent K.H., shoving him/her violently and

repeatedly, and when K.H. put out his/her arm and pushed back on

HOLLINGSWORTH to create distance, HOLLINGSWORTH lunged at K.H.,

taking K.H. to the ground.     HOLLINGSWORTH began to wrestle with

K.H. and placed K.H. in a chokehold with his arm around K.H.’s

neck, cutting off K.H.’s ability to breath for a few seconds.

While K.H. was struggling to free his/herself, Special Agent

B.V. ordered HOLLINGSWORTH to release K.H. and attempted to free

K.H.’s neck from HOLLINGWORTH’s arm.       When HOLLINGSWORTH

continued to resist, Special Agent B.V. struck HOLLINGSWORTH’s

face with a fist, which caused HOLLINGSWORTH’s grip to loosen,

and K.H. managed to get free.      The Special Agents gained control

and handcuffed HOLLINGSWORTH with his arms in front, and put him

down on his back.

     14.   HOLLINGSWORTH began to complain of breathing

difficulties.   The agents helped HOLLINGSWORTH into a seated

position on the floor.     Special Agent B.V. located the inhaler

and administered it and also moved HOLLINGSWORTH into a seated

position in his rolling office chair.

     15.   While Special Agent B.V. dialed 911 for police

assistance, HOLLINGSWORTH became agitated and reached for his

cell phone on his office desk and dialed 911.        Special Agent

K.H. ordered HOLLINGSWORTH to remain seated.        HOLLINGSWORTH

became aggressive again, got out of the chair and lunged at K.H.

Special Agent K.H. attempted to control HOLLINGSWORTH from the


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rear, and in that struggle, K.H. and HOLLINGSWORTH both fell

over backwards, into a closet.      HOLLINGSWORTH then began biting

K.H.’s forearm.   Special Agent B.V. ordered HOLLINGSWORTH to

stop and when HOLLINGSWORTH refused to comply, B.V. struck

HOLLINGSWORTH’s face with his fist several times, to regain

control.

     16.   Though HOLLINGSWORTH continued to be combative, the

Special Agents were able to pull HOLLINGSWORTH out of the closet

and placed him on the ground, restraining him until Inglewood

Police Department officers arrived and took him into custody.

     17.   During the course of the assaults, Special Agent K.H.

suffered from the following bite wound to his left forearm that

drew blood.




     18.   Special Agent K.H. also suffered from cuts and bruises

to his/her right hand, a scrape to the back of his/her left

forearm, scrapes and gauges on both shins that drew blood, and

bruises to his/her neck.     Special Agent B.V. also suffered from

scrapes and bruises.

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     19.   Both Special Agents received medical attention on the

scene, and Special Agent K.H. was also sent to a nearby hospital

where he/she was treated for his/her injuries.

                             V. CONCLUSION

     20.   Based on the foregoing facts, there is probable cause

to believe that HOLLINGSWORTH forcibly assaulted, resisted,

opposed, or impeded federal officers while engaged in the

performance of official duties, involving physical contact and

bodily injury, in violation of Title 18, United States Code,

Sections 111(a)(1), (b).




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 16th day of
September, 2021.



HONORABLE CHARLES F. EICK
UNITED STATES MAGISTRATE JUDGE




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